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 Exhibit 1 – Letters of Support
           List of Letter Writers (in order)

           1) John L. Genz – Father

           2) John C. Genz – Brother

           3) Corinne Ianni – Daughter

           4) Karen Honeker – Sister

           5) Sharon Maxwell – Sister

           6) Janet Aldrich – Friend

           7) Susan Blais – Friend

           8) Joan Quinn Eastman – Friend

           9) William Gens – Friend

           10) Carl Lodi – Friend

           11) Richard Lodi – Friend

           12) Tara Patenaude – Friend
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Honorable Justice Carl J. Nichols
US District Court, District of Columbia
E. Barrett Prettyman US Courthouse
333 Constitution Ave. NW
Washington, DC 20001

Dear Judge Nichols,

I wanted to tell you about my mother, Sue Ianni, prior to her hearing before your court on Dec 2,
2022.

I remember when I was 5, my mom fussing over me as I got ready for ballet recitals, then fully
supporting my next dream to quit ballet and pursue soccer – helping me gear up with cleats and
shin guards. This unwavering love and support has helped me to persevere to achieve many of
my life goals – including, having recently graduated with my doctorate and now having a
meaningful career as an occupational therapist.

She always let me know how proud she was of me, and how much I was loved. As a mom, she
made sure her kids knew that they were the best and happiest thing in her life. She told us how
blessed, smart, and beautiful we all were. She also had high expectations, but only in terms of
developing our work ethic, sense of responsibility, and independence.

Growing up, my friends always felt comfortable coming in and going (without knocking) and
raiding our well-renowned snack supply. I have had friends who were kicked out of their houses,
and my mom without hesitation accepted them into our home – setting out an extra plate for
them at dinner and treating them as a loved member of the family. Her natural inclination to help
out others extends to our neighbors - taking our older adult neighbor out to stores to shop and
successfully advocating for newly paved streets after a neighbor sustained an injury falling into
one of many potholes on our street.

My mom has strong principles and convictions. She taught me to be strong in the same way
when faced with challenges. She taught me to question everything, to think critically and
logically. She made a mistake, but I refuse to believe she had any intention of doing harm or of
causing anyone to feel threatened.

Regardless of my mother and my political differences, I can endorse she is a good person, who
always puts others first. It is my personal hope that your honorable decision to maintain fair
justice also takes into consideration these many admirable, positive impacts she has had within
the community at large here.

Sincerely yours,

Cori Ianni

(To the media – I, nor my immediate or extended family members, wish to speak further on this subject. Please,
respect my family’s privacy during these times.)
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To: The Honorable Carl J. Nichols
US District Court, District of Columbia
E. Barrett Prettyman US Courthouse
333 Constitution Ave. NW
Washington, DC 20001

November 14, 2022


Dear Judge Nichols,

Regarding Suzanne Ianni:

Suzanne came into my life personally more than a year ago. We are both news gatherers. I wanted Sue to join my
group ComflmRegistryNews.

Last year I was hospitalized for nine days and upon my release, Sue rallied to help me at home I was surprised, hon-
ored and touched that Sue showed up to help an acquaintance.

It made me realize all my efforts the past 17 years reporting on Beacon Hill had touched many people. I was now
being surrounded with people who showed their concern with action.

Suzanne is pure gold. I will forever be GRATEFUL and will never forget the bond created with Sue and others at
that time in my life.

Sincerely
Janet Aldrich
ComflmRegistryNews
comflm.com,
Founder President
2004 to Present

cc Suzanne Ianni
et. al. permission allowed

Janet Aldrich
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 Tara Patenaude
 116 Auburn Street
 Cherry Valley, MA 01611



 Novembe r 7, 2022


 Re : Suzanne Ianni


 Honorable Justice Carl J. Nichols
 US District Court, District of Columbia
 E. Barrett Prettyman US Courthouse
 333 Constituti on Ave . NW
 Washington, DC 20001



To The Honorable Judge Nichols,

I am writing on behalf of Suzanne Ianni. I have known Suzanne for approxima tely 4 years . I
                                                                                             was
surprised when I heard of her arrest and the charges attached . I have only known Suzanne to
                                                                                               be a
woman who loves her country and to label her as anything else would be a mischaracterization
                                                                                                of her
true nature . She is a mother, daughter, friend and a Patriotic American.


Suzanne is a kind woman who would never knowingly do anything blatantly illegal. I have been
                                                                                                     to
Washington DC with Suzanne several times . Like myself, the historical buildings and what they
represent mean a great deal. While entering the Capital building was an unwise choice, the
ramifications of that were not likely something realized until after the fact. I'm sure, if she could
                                                                                                       go
back, she would have made different choices instead of getting swept up in the activity going
                                                                                                  on around
her. I ask the court to take into account the fact that Suzanne is a woman who never intentiona
                                                                                                     lly broke
the law, and would not do so .

The implications of her arrest have already had a significant impact on her life and hope the
                                                                                              court will
show her some leniency in this regard.



Thank you for your time.




Sincerely,




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Tara Patenaude
